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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OAKLEY, INC.,
                                                    Case No. 20-cv-02955
              Plaintiff,
                                                    Judge Thomas M. Durkin
              v.
                                                    Magistrate Judge Gabriel A. Fuentes
FORFAR OUTDOORS STORE, et al.,

              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Oakley, Inc.

(“Plaintiff”) hereby dismisses this action, with leave to reinstate within one hundred and eighty

(180) days, as to the following Defendants:

              Defendant Name                                         Line No.
            Forfar Outdoors Store                                        1
             Shop2129047 Store                                           6
          LAOTIE OUTDOOR Store                                          17
             Shop5442221 Store                                          37
                 easylivingus                                           47
                heybeautyday                                            67




                                               1
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Dated this 27th day of August 2020.   Respectfully submitted,


                                      /s/ Jake M. Christensen
                                      Amy C. Ziegler
                                      Justin R. Gaudio
                                      Jake M. Christensen
                                      Thomas J. Juettner
                                      Greer, Burns & Crain, Ltd.
                                      300 South Wacker Drive, Suite 2500
                                      Chicago, Illinois 60606
                                      312.360.0080 / 312.360.9315 (facsimile)
                                      aziegler@gbc.law
                                      jgaudio@gbc.law
                                      jchristensen@gbc.law
                                      tjjuettner@gbc.law


                                      Counsel for Plaintiff Oakley, Inc.




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